       Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 1 of 7




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

_________________________________
                                            )
In re: The Home Depot, Inc., Customer       )    Case No.: 1:14-md-02583-TWT
Data Security Breach Litigation             )
                                            )        CONSUMER CASES
_________________________________           )

     ORDER APPOINTING LEADERSHIP FOR CONSUMER CASES
      By Order of January 16, 2015, the Court directed that if plaintiffs’ counsel

were to reach agreement among themselves regarding a proposed leadership

structure, they should file their proposal with the Court no later than February 2,

2014. CMO No. 2, Doc. 36, ¶ 6. Before the Court is a Joint Motion submitted by

various counsel for consumer plaintiffs who represent to the Court that they have

reached a unanimous consensus regarding a leadership structure for the consumer

cases in this proceeding. Having considered all timely submissions in light of the

criteria set forth in CMO No. 1 (Doc. 3, ¶ 6), the Manual for Complex Litigation,

and Fed. R. Civ. P. 23(g), and following the hearing held on February 12, 2015, the

Court hereby appoints the following leadership for the consumer plaintiffs:

      1.    Liaison Counsel Representing Consumer Plaintiffs:

            Roy E. Barnes and John R. Bevis
            Barnes Law Group, LLC
            31 Atlanta Street
        Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 2 of 7




             Marietta, Georgia 30060

      2.     Duties of Consumer Plaintiffs’ Liaison Counsel: Liaison Counsel

shall have the following responsibilities concerning the consumer cases:

      (A)    Communicate with the Court, on behalf of Lead Counsel, concerning

scheduling and other administrative matters;

      (B)    Maintain an up-to-date, comprehensive Service List and promptly

advise the Court and Defendants’ counsel of changes to Plaintiffs’ Service List;

      (C)    Receive and distribute to Plaintiffs’ counsel, as appropriate, Orders,

notices, and correspondence from the Court, to the extent such documents are not

electronically filed; and

      (D)    Receive and distribute to Plaintiffs’ counsel, as appropriate,

discovery, pleadings, correspondence, and other documents from Defendants’

counsel that are not electronically filed.

      3.     Co-Lead Counsel Representing Consumer Plaintiffs:

             David J. Worley and James M. Evangelista
             Harris Penn Lowry LLP
             400 Colony Square
             1201 Peachtree Street, NE, Suite 900
             Atlanta, Georgia 30361

             Norman E. Siegel and Barrett J. Vahle
             Stueve Siegel Hanson LLP
             460 Nichols Road, Suite 200
             Kansas City, Missouri 64112

                                             2
       Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 3 of 7




             John A. Yanchunis
             Morgan & Morgan Complex Litigation Group
             201 N. Franklin Street, 7th Floor
             Tampa, Florida 33602

      4.     Duties of Consumer Plaintiffs’ Co-Lead Counsel:                Co-Lead

Counsel for consumer plaintiffs shall, along with Liaison Counsel, have the

following responsibilities concerning the consumer cases:

      (A)    Direct and manage pretrial proceedings on behalf of all consumer

plaintiffs, including the briefing and argument of motions and the conduct of all

types of discovery proceedings;

      (B)    Delegate work responsibilities to other plaintiffs’ counsel, and

monitor the activities of all plaintiffs’ counsel to assure that plaintiffs’ pretrial

preparation is conducted effectively, efficiently, and economically, that schedules

are met, and that unnecessary expenditures of time and expense are avoided;

      (C)    Consult with and employ consultants or experts, as necessary;

      (D)    Coordinate with other members of the Steering Committee in

management of the litigation and fund the necessary and appropriate costs of

discovery and other common benefit efforts, including the maintenance of a

plaintiffs’ document depository [see Manual for Complex Litigation, Fourth,

section 40.261];



                                         3
        Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 4 of 7




       (E)     Coordinate settlement discussions or other dispute resolution efforts

on behalf of consumer plaintiffs, under the Court’s supervision, if and as

appropriate;

       (F)     Enter into stipulations with other parties as necessary for the conduct

of the litigation;

       (G)     Prepare and distribute to the parties periodic status reports;

       (H)     Maintain adequate time and disbursement records covering services as

appointed counsel; and

       (I)     Perform such other duties as may be incidental to proper coordination

with the Steering Committee of plaintiffs’ pretrial activities or as authorized by

further Order of the Court.

       5.      Liaison and Co-Lead Counsel are also hereby designated as Co-

Interim Consumer Class Counsel pursuant to Rule 23(g) to “act on behalf of a

putative class before determining whether to certify the action as a class action.”

Fed. R. Civ. P. 23(g)(3).

       6.      Consumer Plaintiffs’ Steering Committee:

       Along with Liaison Counsel and Co-Lead Counsel for consumer plaintiffs,

the following firms shall comprise the Consumer Plaintiffs’ Steering Committee

               Tina Wolfson
               Ahdoot & Wolfson, P.C.

                                            4
       Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 5 of 7




            1016 Palm Avenue
            West Hollywood, California 90069

            William B. Federman
            Federman & Sherwood
            10205 N. Pennsylvania Avenue
            Oklahoma City, Oklahoma 73120

            Daniel C. Girard
            Girard Gibbs LLP
            601 California Street, 14th Floor
            San Francisco, California 94108

            Gary S. Graifman
            Kantrowitz, Goldhamer & Graifman, P.C.
            210 Summit Avenue
            Montvale, New Jersey 07645

            Howard T. Longman
            Stull, Stull & Brody
            6 East 45th Street
            New York, New York 10017

      7.    The Steering Committee shall meet and confer as needed regarding

the completion of consumer plaintiffs’ pretrial and trial activities, including the

duties set forth in paragraph 4 above. The Steering Committee may establish

subcommittees to aid in the effective and efficient conduct of this litigation. The

Steering Committee shall participate in the determination of any significant matters

that arise in the consumer litigation. Disagreements, if any, will be resolved by a

simple majority vote.



                                         5
        Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 6 of 7




       8.     All counsel must keep a daily record of their time spent and expenses

incurred in connection with this litigation, and must report on a monthly basis their

expenses and hours worked to Co-Lead and Liaison Counsel for consumer

plaintiffs.   Co-Lead and Liaison Counsel will make such records and reports

available to other members of the Steering Committee upon request. Those not

serving in leadership positions must secure the express authorization of Co-Lead

Counsel for any projects or work undertaken in this litigation.

       9.     On a quarterly basis, beginning on March 31, 2015, thirty (30) days

following the last business day of each June, September, December, and March,

Co-Lead and Liaison Counsel shall submit to the Court in camera reports

reflecting hours billed in this matter by all consumer plaintiffs’ counsel. Said

reports shall include a one page summary of counsel time and expense to date.

Failure to maintain and submit records with sufficient descriptions of the time

spent and expenses incurred may be grounds for denying attorneys’ fees and/or

expenses, for the period that relates to the missing or inadequate submissions.

       10. This order shall govern the practice and procedure in those actions that

the Judicial Panel on Multidistrict Litigation transferred to this Court as well as all

related actions originally filed, transferred, or removed to this Court. This Order




                                          6
        Case 1:14-md-02583-TWT Document 60 Filed 02/13/15 Page 7 of 7




shall also apply to any “tag-along actions” later filed in, removed to, or transferred

to this Court, absent further order.



      SO ORDERED, this 13th day of February, 2015.


                                       /s/ Thomas W. Thrash
                                       Thomas W. Thrash
                                       United States District Judge




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